Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 1 of 42 Pageid#: 15595




                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                      Charlottesville Division

   ELIZABETH SINES, et al.,                         )       Civil Action No. 3:17-cv-00072
        Plaintiffs,                                 )
                                                    )
   v.                                               )       MEMORANDUM OPINION & ORDER
                                                    )
   JASON KESSLER, et al.,                           )
        Defendants.                                 )       By:     Joel C. Hoppe
                                                    )               United States Magistrate Judge

           This matter is before the Court on Plaintiffs’ third motion for nondispositive Rule 37

   sanctions against Defendant Elliott Kline (a.k.a. Eli Mosley). ECF No. 601 (“Pls.’ 3d Mot. for

   Sanctions”); see Pretrial Order ¶ 13 (citing 28 U.S.C. § 636(b)(1)(A)), ECF No. 101. Kline, who

   is representing himself, ECF No. 347, did not file a response within fourteen days. Accordingly,

   I consider Plaintiffs’ motion to be unopposed by Kline. Pretrial Order ¶ 7. Defendants Richard

   Spencer and Christopher Cantwell each filed a brief opposing Plaintiffs’ requests for evidentiary

   sanctions, ECF Nos. 469, 637, to which Plaintiffs replied, ECF Nos. 475, 478, 641.1 The matter

   has been fully briefed, see ECF Nos. 601, 604, 642, 645, 649, 682,2 and may be decided without

   another hearing, see ECF Nos. 504, 600, 609, 632. Fed. R. Civ. P. 78(b); W.D. Va. Civ. R. 11(b).

   Plaintiffs’ motion for sanctions, ECF No. 601, will be granted in part and denied in part.

                                          I. The Legal Framework

           Rule 37(b)(2) of the Federal Rules of Civil Procedure grants the district court where an

   action is pending broad discretion to impose sanctions whenever “a party . . . fails to obey an



   1
    The documents at ECF No. 478 to 478-8 are certain exhibits to Plaintiffs’ reply to Spencer’s brief in
   opposition to Plaintiffs’ first motion for evidentiary sanctions against Defendants Kline and Matthew
   Heimbach, ECF No. 475. These exhibits are sealed. See Order of Apr. 25, 2019, ECF No. 477.
   2
    Docket entries 604 and 682 are sealed. See Oral Order, ECF No. 624; Order of Mar. 16, 2020, ECF No.
   681. Redacted versions of these filings may be found at ECF No. 627 and ECF No. 679, respectively.

                                                        1
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 2 of 42 Pageid#: 15596




   order to provide or permit discovery,” Fed. R. Civ. P. 37(b)(2)(A).3 See Law Funder, L.L.C. v.

   Munoz, 924 F.3d 753, 758 (5th Cir. 2019) (“Rule 37(b)(2)(A) allows a district court to impose a

   sanction when a party fails to comply with a discovery order, and the court has broad discretion

   in fashioning its sanction when it does so.”). “The rule’s language clearly requires two things as

   conditions precedent to engaging the gears of the rule’s sanction machinery: a court order must

   be in effect, and then must be violated, before the enumerated sanctions can be imposed.” R.W.

   Int’l Corp. v. Welch Foods, Inc., 937 F.2d 11, 15 (1st Cir. 1991); see also Carriage Hill Mgmt.,

   LLC v. Bos. Lobster Feast, Inc., No. GJH-17-2208, 2018 WL 3329588, at *5 (D. Md. July 6,

   2018); Victor Stanley, Inc. v. Creative Pipe, Inc., 269 F.R.D. 497, 518–20 (D. Md. 2010).

   “Courts are entitled to interpret broadly what constitutes an order” under this subsection. REP

   MCR Realty v. Lynch, 383 F. Supp. 2d 984, 998 (N.D. Ill. 2005) (“Although Rule 37 requires a

   party to violate a judicial directive in order to impose sanctions, a formal, written order to

   comply with discovery is not required.” (quotation marks omitted)); cf. Belk v. Charlotte-

   Mecklenburg Bd. of Educ., 269 F.3d 305, 324 (4th Cir. 2001) (en banc) (recognizing “the rule in

   this circuit that a district court . . . is best able to interpret its own orders” (quotation marks

   omitted)). “[A]n oral directive from the district court provides a sufficient basis for Rule 37(b)(2)

   sanctions if it unequivocally directs the party to provide the requested discovery,” Halas v.

   Consumer Servs., Inc., 16 F.3d 161, 164 (7th Cir. 1994), or to conduct itself in a manner that will



   3
     Federal courts also have inherent power to sanction conduct that offends the legal process, including a
   party’s “fail[ure] to preserve or produce” discoverable information for another’s use in litigation. Hodge
   v. Wal-Mart Stores, Inc., 360 F.3d 446, 450 (4th Cir. 2004); see Poole ex rel. Elliott v. Textron, Inc., 192
   F.R.D. 494, 497–99 (D. Md. 2000). In this case, Rule 37 provides an adequate framework for sanctioning
   Kline’s repeated failures to obey court orders directing him to provide or permit discovery. See Chambers
   v. NASCO, Inc., 501 U.S. 32, 50 (1991) (“[W]hen there is bad-faith conduct in the course of litigation that
   could be adequately sanctioned under the Rules, the court ordinarily should rely on the Rules rather than
   [its] inherent power. But if in the informed discretion of the court, neither [a] statute or the Rules are up to
   the task, the court may safely rely on its inherent power.”).

                                                          2
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 3 of 42 Pageid#: 15597




   permit anticipated discovery, see Victor Stanley, 269 F.R.D. at 519–20 (party’s failure to comply

   with court’s oral directive to preserve relevant information provided basis for Rule 37(b)(2)

   sanctions).

           Rule 37(b)(2)(A) “contains two standards—one general and one specific—that limit a

   district court’s discretion. First, any sanction must be ‘just’; second, the sanction must be

   specifically related to the particular ‘claim’ which was at issue in the order to provide

   discovery.”4 Ins. Corp. of Ir. v. Compagnie des Bauxites de Guinee, 456 U.S. 694, 707 (1982).

   “Rule 37 sanctions must be applied diligently,” Roadway Express, Inc. v. Piper, 447 U.S. 752,

   763 (1980), “both as a matter of justice in the individual case and ‘to deter others who might be

   tempted to similar conduct,’” Lee v. Max Int’l, 638 F.3d 1318, 1320 (10th Cir. 2011) (Gorsuch,

   J.) (brackets omitted) (quoting Nat’l Hockey League v. Metro. Hockey Club, Inc., 427 U.S. 639,

   643 (1976)). See Victor Stanley, 269 F.R.D. at 533–34. Sanctions include orders deeming certain

   facts established, allowing or requiring an adverse inference, and entering default judgment

   against the disobedient party. Id. (citing Fed. R. Civ. P. 37(b)(2)(A)). These options are “flexible,

   selective, and plural. The district court may, within reason, use as many and as varied sanctions

   as are necessary,” 8B Charles Wright & Arthur Miller, Federal Practice & Procedure § 2284




   4
    “Instead of or in addition to” any orders issued under this subsection, “the court must order the
   disobedient party . . . to pay the reasonable expenses, including attorney’s fees, caused by the failure [to
   obey a discovery order], unless the failure was substantially justified or other circumstances make an
   award of expenses unjust.” Fed. R. Civ. P. 37(b)(2)(C) (emphasis added). I previously ordered Kline to
   pay $12,538.33 in Plaintiffs’ reasonable attorney’s fees caused by his failure to obey at least four separate
   discovery orders. Mem. Op. of May 26, 2020, at 1, 4, 21, ECF No. 738 (citing ECF Nos. 287, 379, 383,
   440); see Mem. Op. of Aug. 9, 2019, at 26, 33–36. This Memorandum Opinion and Order addresses
   Plaintiffs’ “renewed” request for evidentiary sanctions against Kline. Pls.’ 3d Mot. for Sanctions 4; see
   Order Finding Elliott Kline in Civil Contempt 13, 16 (taking second request under advisement), ECF No.
   599 (“First Civil Contempt Order”); Order of June 21, 2019, at 1 (taking first request under advisement),
   ECF No. 508.

                                                         3
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 4 of 42 Pageid#: 15598




   (3d ed. 2002), to achieve Rule 37’s goals in a particular case, see Victor Stanley, 269 F.R.D. at

   533–34.

          The Fourth Circuit has “developed a four-part test for a district court to use when

   determining what sanctions to impose” under Rule 37(b)(2)(A). Belk, 269 F.3d at 348; see S.

   States Rack & Fixture, Inc. v. Sherwin-Williams Co., 318 F.3d 592, 597 (4th Cir. 2003). The

   court must consider: “(1) whether the non-complying party acted in bad faith, (2) the amount of

   prejudice that noncompliance caused the adversary, (3) the need for deterrence of the particular

   sort of non-compliance, and (4) whether less drastic sanctions would have been effective.” S.

   States, 318 F.3d at 597 (4th Cir. 2003) (quoting Anderson v. Found. for Advancement, Educ. &

   Emp’t of Am. Indians, 155 F.3d 500, 504 (4th Cir. 1998)); see Beach Mart, Inc. v. L&L Wings,

   Inc., 784 F. App’x 118, 123–24 (4th Cir. 2019) (citing Fed. R. Civ. P. 37(b)(2)(A)). Some

   sanctions, including an adverse inference, require the court to find that the disobedient party

   acted willfully or in bad faith. Sampson v. City of Cambridge, 251 F.R.D. 172, 181 (D. Md.

   2008) (citing Hodge, 360 F.3d at 450–51); cf. Fed. R. Civ. P. 37(e)(2) (permitting an adverse

   inference where electronically stored information that should have been preserved for litigation

   was “lost because a party failed to take reasonable steps to preserve it and it cannot be restored or

   replaced through additional discovery,” but “only upon finding that the party acted with intent to

   deprive another party of the information’s use in the litigation”). The Fourth Circuit has not

   clearly defined the burden or standard of proof on a motion for sanctions under Rule 37(b).

   Brooks Sports, Inc. v. Anta (China) Co., Ltd., No. 1:17cv1458, 2018 WL 7488924, at *11 (E.D.

   Va. Nov. 30, 2018), adopted by 2019 WL 969572, at *1 (E.D. Va. Jan. 11, 2019); Glynn v. EDO

   Corp., Civ. No. 07-1660, 2010 WL 3294347, at *2 (D. Md. Aug. 20, 2010). “However, proving

   misconduct by ‘clear and convincing’ evidence, as opposed to by a mere preponderance,



                                                    4
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 5 of 42 Pageid#: 15599




   certainly suffices,” Glynn, 2010 WL 3294347, at *2, especially when the sanction does not result

   in dismissal or default judgment against the disobedient party, see Anderson, 155 F.3d at 504–05.

   Here, Plaintiffs produced persuasive evidence of Kline’s willful disobedience to satisfy the more

   demanding “clear and convincing” standard. See Order Finding Elliott Kline Remains in Civil

   Contempt & Order to Surrender to USMS Custody 8, ECF No. 610 (“Second Civil Contempt

   Order”); First Civil Contempt Order 7–12.5

                                                 II. Background6

           On August 11–12, 2017, the “Defendants in this lawsuit, including the Ku Klux Klan,

   various neo-Nazi organizations, and associated white supremacists, held rallies in

   Charlottesville, Virginia. Violence erupted.” Mem. Op. on Defs.’ Mots. to Dismiss Am. Compl.

   1; see Second Am. Compl. ¶¶ 1–7. These rallies are now known as “Unite the Right.” Plaintiffs,

   several residents who were injured that weekend, contend that “this violence was no accident”—

   rather, they allege that Defendants “conspir[ed] to engage in violence against racial minorities

   and their supporters” in violation of the Civil Rights Act of 1871, 42 U.S.C. § 1985, and related

   state laws. Mem. Op. on Defs.’ Mots. to Dismiss Am. Compl. 1–2. “While ultimate resolution of

   what happened at the rallies awaits another day,” the District Court has held the remaining

   Plaintiffs plausibly alleged that certain Defendants, Kline included, “formed a conspiracy to

   commit the racial violence that led to the Plaintiffs’ varied injuries.” Id. at 1.




   5
    Pinpoint citations to documents electronically filed on the case docket, except for transcripts of court
   proceedings and depositions, typically use the header page numbers generated by CM/ECF and the
   exhibit labels assigned by the filing party. Pinpoint citations to transcripts use the number printed on the
   upper right-hand corner of the cited page.
   6
    This section summarizes certain factual allegations in Plaintiffs’ Second Amended Complaint. ECF No.
   557. “While the Court does not repeatedly state ‘Plaintiffs allege that Defendant X did Y,’ this summary
   should not be taken as the Court’s endorsement of one version of the facts.” Mem. Op. on Defs.’ Mots. to
   Dismiss Am. Compl. 3 (July 8, 2018), ECF No. 335.

                                                         5
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 6 of 42 Pageid#: 15600




          Kline, who also goes by “Eli Mosley,” is associated with the white-supremacist group

   Defendant Identity Evropa, which he led from August to November 2017. See Second Am.

   Compl. ¶¶ 29–30; Pls.’ 3d Mot. for Sanctions Ex. A, Tr. of Elliott Kline Dep. 28–29, 48–49, 68

   (Aug. 7, 2019), ECF No. 601-1 (“Kline Dep. Tr.”). He “has described himself as the ‘command

   soldier major of the ‘alt-right.’” Second Am. Compl. ¶ 29. Kline played a central role in planning

   Unite the Right. See First Contempt Hr’g Tr. 56–57 (Nov. 25, 2019), ECF No. 600; Kline Dep.

   Tr. 26, 106; Pls.’ Mot. for Sanctions Against Defs. Kline & Heimbach Ex. 3, Tr. of Jason Kessler

   Dep. 237 (May 16, 2018), ECF No. 457-3; id. Ex. 2, Tr. of Erica Alduino Dep. 189 (Dec. 3,

   2018), ECF No. 457-2. Kline “communicated with [his] co-Defendants and others before,

   during, and after these events. Most of that activity occurred online.” Mem. Op. of Aug. 9, 2019,

   at 7, ECF No. 539; see id. at 8–11. For example, Kline and Defendant Jason Kessler “moderated

   and managed” part of an online platform called Discord. Mem. Op. on Defs.’ Mots. to Dismiss

   Am. Compl. 7. “This ‘invite only’ platform allowed Defendants and their chosen invitees to

   engage in private conversations during the lead up to the events.” Id. (citing Am. Compl. ¶¶ 71–

   74). “Conversation on Discord included mundane planning details, racist ‘jokes,’ and concrete

   threats of violence,” id. at 8, including running over counter-protestors marching in the streets,

   id. at 42–43.

          In June 2017, “Kline drafted and circulated to ‘group leaders’ a working document titled

   ‘Operation Unite the Right Charlottesville 2.0.’” Pls.’ 3d. Mot. for Sanctions 6 (citing id. Ex. B

   (“Report Version: 6/11/2017 Initial OPORD”), ECF No. 601-2, at 2–8); see also id. at 15 (citing

   Kline Dep. Tr. 175–76, 371–73). As of June 11, the event was “being organized by” Kline and

   Kessler “with a few others” acting as event coordinators on Discord. Id. Ex. B, at 2, 6. Kline also

   oversaw “Information Sharing,” and he instructed the “group leaders” who received his report to



                                                    6
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 7 of 42 Pageid#: 15601




   “not discuss the specifics of this event outside of official discussion channels.” Id. at 5 (“[W]e’d

   like to keep the info leaks to a minimum on certain things.”). Kline listed his Discord username,

   a (610) phone number, and email address, and encouraged recipients to “[f]eel free to msg/call

   whenever.” Id. at 6; see also id. at 4 (“If you’d like to volunteer . . . please contact Eli Mosley via

   Discord. . . .”). That July, Kline told Discord users on the “Charlottesville 2.0” server, which he

   controlled, that he would not tolerate them sharing any information about the event “outside of

   closed circles.” Pls.’ 3d. Mot. for Sanctions Ex. D, Eli Mosley, Discord (July 11, 2017 2:14 PM),

   ECF No. 601-4, at 8. In August, Kline shared updated versions of the “Operation Unite the Right

   Charlottesville 2.0” planning document listing the same Discord username and email address, but

   a new (347) phone number. Id. Ex. E (“Report Version: 8/8/2017 Security Orders”), ECF No.

   601-5, at 3; id. Ex. F (“Report Version: 8/10/2017 Security Orders”), ECF No. 601-6, at 3. Kline

   told group leaders that this was his “direct contact information” and encouraged them to call or

   “message [him] directly for anything regarding the event.” Id. (“Feel free to msg/call

   whenever.”).

          Kline, Kessler, and other Defendants also organized a “secret” torchlight parade through

   the University of Virginia’s grounds on the night of Friday, August 11, 2017. See Second Am.

   Compl. ¶ 143. During one planning call on Discord, Kline told participants, “‘We are doing a

   torch light event on Friday. Anyone who doesn’t have tiki stuff now should go out and get it

   tonight or tomorrow morning and if you could get extras that would be great.’” Id. ¶ 146

   (alteration omitted). On Friday evening, Kline posted on Discord that “everyone can start

   assembling at Nameless Field right now with your torches to start staging. We will step off from

   the field at 10 pm.” Id. ¶ 151 (capitalization corrected). Kline “would later approvingly tweet [a]

   picture” of Defendant Christopher Cantwell “spraying pepper spray in a counter-protester’s eyes,



                                                     7
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 8 of 42 Pageid#: 15602




   saying ‘He protect / He attack / But most importantly he got your back.’” Mem. Op. on Defs.’

   Mots. to Dismiss Am. Compl. 33 (quoting Am. Compl. ¶ 172 (brackets omitted)).

          Finally, Kline communicated with others on the ground in Charlottesville on August 12,

   2017. He and Kessler “exhorted rallygoers to arrive before the park opened to form a ‘white bloc

   barrier . . . around the entire statue + podium. Given that they know we’re coming, we’ll all need

   as many people as possible to be there right when the park opens.’” Second Am. Compl. ¶ 188

   (alteration omitted). By 11:22 a.m., local law enforcement declared an unlawful assembly and

   ordered everyone to leave. Id. ¶ 222. Several Defendants went to nearby McIntire Park where

   they “discussed returning to Emancipation Park in defiance of police orders.” Id. ¶ 230. Kline

   went online looking for “people with guns: ‘I need shooters,’ he said. ‘We’re gonna send 200

   people with long rifles back to that statue.’” Id.

                                                        *

          Kline later testified that he made “five or six versions” of the “Charlottesville 2.0”

   planning document, each several pages long, by typing and editing the document on his cell

   phone. He did not use a computer to plan or communicate about Unite the Right. Pls.’ 3d Mot.

   for Sanctions 15 (citing Kline Dep. Tr. 175–76, 371–73); see also First Contempt Hr’g Tr. 34,

   55–57; Second Contempt Hr’g Tr. 11–12 (Dec. 16, 2019), ECF No. 609; Tr. of Jan. 6, 2020

   Status Conf. 10–11, ECF No. 632; Kline Dep. Tr. 107–08, 120–22, 175–76, 371–73, 376. Kline

   had a computer before he moved to South Carolina in 2016 or 2017, but he did not take it with

   him either because he “couldn’t fit all of [his] stuff in the car,” Kline Dep. Tr. 112, or because he

   “dropped the computer” while moving “and it basically fell apart,” First Contempt Hr’g Tr. 34;

   see also Second Contempt Hr’g Tr. 11–12 (“[This was] a computer that I used before I was a

   member of the Alt-right. The last time I had used it was in 2016, and it wasn’t used for any



                                                        8
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 9 of 42 Pageid#: 15603




   purposes related to Unite the Right or any communication. . . . [W]hen I moved back in 2016,

   that computer had been dropped, and it must have been thrown out when we were moving.”). At

   Kline’s first deposition in August 2019, Plaintiffs showed him several Discord chats from late

   March 2017 in which Kline referred to “my computer,” “my PC,” or “my home PC.” See Pls.’ 3d

   Mot. for Sanctions 14–15 (citing Pls.’ Decl. in Supp. of 2d Mot. for Sanctions Ex. F,

   EliMosley#5269, Discord (Mar. 22, 2017 8:42 PM) (“I have the screen cap on my home PC”),

   ECF No. 566-6; id. Ex. G, EliMosley#5269, Discord (Mar. 22, 2017 5:02 PM) (“if he comes in

   and I have to defend myself all they have to do is look through my computer and im fucked so

   not really a good option”), ECF No. 566-7; id. Ex. I, EliMosley#5269, Discord (Mar. 31, 2017

   10:38 PM) (“the phone is backed up on my PC”), ECF No. 566-9; id. Ex. H, EliMosley#5269,

   Discord (Mar. 22, 2017 4:45 PM) (“they share a wall with my computer”), ECF No. 566-8).

   Kline admitted under oath that he sent one Discord chat about someone “look[ing] through my

   computer,” but explained that he must have been referring to the “computer screen” he and his

   girlfriend used “to watch Netflix and stuff like that” since they “didn’t have a TV.” Kline Dep.

   Tr. 401–03.7

                                          III. Procedural History

          Plaintiffs filed this lawsuit on October 11, 2017. ECF No. 1. Kline was properly served

   with a summons and copy of the Complaint at his residence in Reading, Pennsylvania on

   October 27. ECF No. 62. Two weeks later, “Eli Mosley” told his Twitter followers, “[W]e still

   have a lot of legal battles ahead of us so check out IdentityEvropa.com for info on our case. I’ll

   also be on a few podcasts this weekend chatting about this stuff since it is crucial that we


   7
    In March 2020, Kline’s now ex-girlfriend testified that when Kline moved into her South Carolina
   apartment in June 2017, he brought a tower computer and three flat-screen monitors. See ECF No. 682-2,
   at 105–06, 110–11. She observed Kline using the computer “all the time” and purchased an internet
   subscription for Kline because he “said that he couldn’t plan the rally” without it. Id. at 107.
                                                     9
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 10 of 42 Pageid#:
                                  15604



 continue to win in court for the future of our people.” Pls.’ Mot. for Sanctions Against Defs.

 Kline & Heimbach Ex. 6, at 3, @EliMosleyIE, Twitter (Nov. 9, 2017 5:13 PM), ECF No. 457-6.

         On January 25, 2018, Plaintiffs served their Corrected First Set of Requests for

 Production of Documents and First Set of Interrogatories on Kline through his then-counsel.8 See

 First Civil Contempt Order 6–7; Mem. Op. of Aug. 9, 2019, at 11–12, 14–16, 29. Those requests

 sought “information and materials directly relevant to the claims and defenses in this case,”

 Mem. Op. of Aug. 9, 2019, at 29, including copies of any “emails, text messages, recordings, or

 social media content related to the preparation, planning, transportation to, or coordination for”

 the August 11–12 events and information identifying “all means of communications used to

 discuss the events, as well as the specific electronic devices used for such communications,” id.

 at 12 (cleaned up). Kline’s proper responses or objections were due by February 26, 2018. Id. at

 29. He did not respond in any fashion. Id.

         Kline’s actions in this case over the next eighteen months are well documented. See, e.g.,

 Mem. Op. of Aug. 9, 2019, at 1–2, 12–17, 30 n.11 (March 2018 to July 2019); Order to Show

 Cause & Certified Facts 8–12 (July to October 2019), ECF No. 584 (“Certification Order”); First

 Civil Contempt Order 3–7, 9–12 (November 2019). In short, he disobeyed numerous court orders

 to provide or permit discovery of relevant materials within his control “while the litigation

 slowed and everyone else’s costs piled up.” Mem. Op. of Aug. 9, 2019, at 29. The first order,

 issued at my initial conference call with the parties on March 16, 2018, was an oral directive that


 8
   Kline was one of several Defendants who retained James Kolenich, Esq., and Elmer Woodard, Esq., to
 represent them in this matter beginning on December 1, 2017. ECF No. 131. In July 2018, I allowed
 Messrs. Kolenich and Woodard to withdraw from representing Kline because he had stopped
 communicating with them and refused their instructions to cooperate in discovery. See Order of July 25,
 2018, ECF No. 347; Mem. Op. of Aug. 9, 2019, at 16–17. At the same time, I gave Kline an additional
 fourteen days, or until August 8, 2018, to answer Plaintiffs’ amended complaint. Order of July 25, 2018,
 at 1; First Contempt Hr’g Tr. 4–5; see Fed. R. Civ. P. 12(a)(4)(A). Kline still has not filed any responsive
 pleading in this case. See Fed. R. Civ. P. 8(b)(6).

                                                      10
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 11 of 42 Pageid#:
                                  15605



 I expected everyone on the call, Kline’s attorneys included, “to preserve any potentially relevant

 evidence” and that I took their “obligation to preserve this evidence very seriously.” Tr. of Mar.

 16, 2018 Conf. Call 24, ECF No. 282; see Mem. Op. of Aug. 9, 2019, at 12–13. The others were

 written orders setting out clear step-by-step instructions how Kline could “make good [his]

 discovery obligation” by deadlines repeatedly extended, Lee, 638 F.3d at 1321. Mem. Op. of

 Aug. 9, 2019, at 13–15, 17–20, 22; Order of Mar. 26, 2018, ECF No. 287; Order of Nov. 13,

 2018, ECF No. 379; Stip. & Order of Nov. 19, 2018, ECF No. 383; Order of Mar. 4, 2019, ECF

 No. 440; see also First Contempt Hr’g Tr. 48–51, 75–76. Yet, Kline’s “consistent ‘practice from

 the very beginning [was] to ignore outright the court’s orders or submit chaotically and

 defectively to them.’” Mem. Op. of Aug. 9, 2019, at 30 (quoting Mut. Fed. Savs. & Loan v.

 Richards & Assocs., 872 F.2d 88, 94 (4th Cir. 1989)). Plaintiffs also produced evidence showing

 Kline was active on social media—even commenting about ongoing litigation—when he should

 have been participating in discovery and other pretrial proceedings.9

         On October 30, 2019, I issued an Order to Show Cause and Certification Under 28 U.S.C.

 § 636(e)(6)(B)(iii), detailing Kline’s habitual noncompliance with my discovery orders and

 general failure to participate in discovery. See Certification Order 4–12. The Order certified facts

 “show[ing] that Kline disobeyed seven court orders requiring him to provide or permit discovery

 of relevant materials and information for Plaintiffs’ use in this litigation.” Id. at 12 (citing ECF

 Nos. 287, 383, 397, 440, 508, 516, 538). It also found that “most” of Kline’s answers to



 9
   In late May 2018, Twitter user “Sheli Shmosley,” an account that Kline has admitted he controlled,
 contradicted another user’s description of the Unite the Right (“UTR”) rally, tweeting “[that] is not in
 anyway [sic] how UTR happened. I can’t say much more for obvious reasons but that’s just untrue.” Pls.’
 Mot. for Sanctions Against Defs. Kline & Heimbach Ex. 6, at 5, @Sheli_Shmosley, Twitter (May 27,
 2018 7:47 PM); see Pls.’ First Supp’l Br. in Supp. of 3d Mot. for Sanctions Ex. B, Email from E. Kline to
 K. Kim & M. Bloch (Dec. 4, 2019), ECF No. 604-2, at 2–3. Kline was still represented by counsel at this
 time. Mem. Op. of Aug. 9, 2019, at 30 n.11.

                                                    11
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 12 of 42 Pageid#:
                                  15606



 Plaintiffs’ questions at his recent court-ordered deposition were “evasive, internally inconsistent,

 or simply not believable.” Id. at 10; see also id. at 8–11 (discussing orders issued on June 21,

 July 3, and August 8, 2019). For example, Kline admitted that both the Court and Plaintiffs’

 counsel had contacted him at the correct email address, phone number, and physical address, but

 he testified that he “didn’t know” which court conferences “he was supposed to attend” and that

 he “wasn’t given a means” to provide the requested discovery. Id. at 10–11 (citing Kline Dep. Tr.

 35–36, 38, 138, 140–42, 203–08, 239, 250–51, 266–67, 269–71, 291–302, 305, 318 (Aug. 7,

 2019), ECF No. 566-3). Or, if Kline did receive this information, he just never bothered to do

 anything with it. Id. at 11 (citing Kline Dep. Tr. 203, 204–08, 291–92, 301, 303, 305). Kline also

 admitted that he had responsive information in his possession, his former counsel had explained

 he must preserve any potentially relevant evidence for discovery, and he understood his

 obligation to produce any requested materials to Plaintiffs’ counsel. Yet, he never took any steps

 to preserve this information, such as backing up his emails or the contents of his phones. Id.

 (citing Kline Dep. Tr. 82, 91–92, 139, 209–10, 214–17, 219–21, 225–26, 229–33, 244–45, 273).

 Based on my familiarity with the protracted discovery in this case generally, and Kline’s

 continued contumacious behavior in particular, I recommended that the Honorable Norman K.

 Moon, presiding District Judge, grant in part Plaintiffs’ second motion for sanctions, find Kline

 in civil contempt, and impose graduated sanctions to coerce his compliance with my discovery

 orders. See id. at 12–13; Fed. R. Civ. P. 37(b)(2)(A)(iv). I also ordered Kline to appear in person

 before Judge Moon on November 25, 2019, to show cause why he should not be adjudged in

 contempt by reason of the facts certified in my order.

        On November 14, Judge Moon issued his own Show Cause Order directing Kline to

 appear as scheduled on November 25 and giving him until 5:00 p.m. EST on November 21,



                                                  12
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 13 of 42 Pageid#:
                                  15607



 2019, to send to the Third Party Discovery Vendor specific electronic devices and social media

 credentials; to provide “full and complete written answers” to Plaintiffs’ First Set of

 Interrogatories and Request for Production; to “confirm by email” to Judge Moon’s Chambers,

 my Chambers, and Plaintiffs’ counsel that “the above steps ha[d] been taken,” and attach to the

 email a copy of his written answers to Plaintiffs’ discovery requests; and to file any brief or

 response to the facts certified and the issues raised in my Certification Order that he wanted

 Judge Moon to consider at the contempt hearing on November 25. See First Show Cause Order

 ¶¶ 1–4, ECF No. 588.10 At 1:26 a.m. on November 21, Kline emailed my Chambers and one of

 Plaintiffs’ attorneys (but not Judge Moon’s Chambers) claiming that he was having trouble

 accessing his email and communicating with the Court, he only just learned of the November 25

 hearing, his car was not working and he could not afford to fix it, he planned to stay in New

 York until after Thanksgiving and therefore did “not think [he] could make” it to Charlottesville

 until early December, and he intended to comply with his discovery obligations. See Second

 Show Cause Order 1, ECF No. 591. The same day, Judge Moon issued a second Show Cause

 Order informing Kline that the contempt hearing would proceed as scheduled; reiterating the

 specific steps that Kline needed to take, by 5:00 p.m. that evening, to fulfil his outstanding

 discovery obligations; advising Kline that his failure to appear at the contempt hearing and to

 comply with Judge Moon’s orders “could result in additional grounds of contempt”; and warning

 Kline that his failure to appear in person on November 25 could result in the Court issuing a

 bench warrant and directing the United States Marshals Service (“USMS”) to arrest Kline,




 10
   Judge Moon also invited Plaintiffs file a response by 5:00 p.m. EST on November 21, 2019. See Order
 of Nov. 14, 2019, ECF No. 587. Their “response stated, in relevant part: ‘Plaintiffs agree entirely with the
 facts certified by Judge Hoppe.’” First Civil Contempt Order 3.

                                                     13
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 14 of 42 Pageid#:
                                  15608



 transport him to Charlottesville, and hold him in custody until he purged himself of contempt. Id.

 at 2–3. He also gave Kline one extra day to respond to my Certification Order. See id.

        Kline emailed his response to the Court on November 22, 2019. He “did not directly

 challenge any of [my] certified facts or assert that they did not amount to civil contempt.” First

 Civil Contempt Order 3. He briefly addressed a few issues raised therein, namely that “he had

 only just gotten access” to one cell phone; he “could not access his social media accounts, and so

 could not turn over credentials” to the discovery vendor; he “had not received a copy of

 Plaintiffs’ discovery requests”; and he had “difficulties communicating with counsel or the

 Court” using the email address that he provided. Id. at 3–4.

        Kline did appear for the contempt hearing on November 25, 2019. Not surprisingly,

 though, he “did not avail himself of th[e] off-ramp” Judge Moon gave him nearly two weeks

 earlier. See First Civil Contempt Order 1 (“[Kline] failed to complete his outstanding discovery

 obligations before the Contempt Hearing.”). At the hearing, Judge Moon heard testimony from

 Kline and argument from the parties. He found “Kline’s excuses for non-compliance with a

 multitude of court orders unbelievable, contradictory, and at odds with the plain facts in the

 record.” Id. at 2; see also First Contempt Hr’g Tr. 49–51, 66, 68. Judge Moon adopted and

 entered as factual findings the facts in my Certification Order, see First Civil Contempt Order 4,

 noting that they “reflect[ed] a thorough examination of the record and [were] persuasive,” id. at

 2, in documenting “Kline’s repeated failures to respond to discovery or discovery orders” over

 the previous twenty-two months. See id. at 4. Judge Moon further found that Kline’s statements

 “about his inability to access his ‘Eli F Mosley’ email account [were] not credible” because

 “Kline testified at his August 7 deposition that he did have access to and was able to log into the

 account, and he confirmed to his former lawyer in June 2019 that [this] email [address] was



                                                  14
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 15 of 42 Pageid#:
                                  15609



 correct and Kline could check it.” Id. at 5 (footnote citations omitted). Judge Moon also found

 that Kline had received Plaintiffs’ written discovery requests in January 2018 and that Kline’s

 explanation why he never responded to those requests was not credible considering his

 deposition testimony and representations to the Court in August 2019. See id. at 6–7. In short,

 Kline “continued to deflect blame off himself and onto others, at bottom, based upon excuses

 that he was too busy to respond.” Id. at 7.

         On November 27, 2019, Judge Moon issued a written order finding “Kline to be

 presently in contempt of court, and that each of the [four] elements of civil contempt ha[d] been

 shown by clear and convincing evidence.” Id. at 9 (citing JHT Tax v. H&R Block E. Tax Servs.,

 395 F.3d 699, 705 (4th Cir. 2004)). First, “[n]umerous valid orders,” including those that I issued

 on July 3 and August 8, 2019, and that Judge Moon issued on November 14, 2019, “all required

 Kline” to take specific steps, within finite periods of time, to provide or permit discovery. See id.

 at 9–11. Second, the “Orders were in Plaintiffs’ favor” because Plaintiffs were entitled to Kline’s

 complete, timely responses to their valid discovery requests, id. at 10 (citing Fed. R. Civ. P. 33,

 34), and the Orders were a “necessary step to ensure the collection of potentially discoverable

 information from Kline, and to guard against concerns [over] spoliation of discoverable

 information,” id. at 11 (footnote citations omitted). Third, “Kline had actual and constructive

 knowledge of these Orders” and he violated their terms by failing to respond to Plaintiffs’

 written discovery requests, failing to produce electronic devices for imaging, and failing to

 provide complete and accurate information for all of his social media accounts. Id. at 9, 11

 (footnote citations omitted). Finally, Plaintiffs “suffered harm as a result of Kline’s continued

 violations of those Orders.” Id. at 10, 12 (footnote citations omitted). Judge Moon found this

 harm “to be self-evident,” but noted the “financial harm and harm and delay to [Plaintiffs’]



                                                  15
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 16 of 42 Pageid#:
                                  15610



 ability to timely develop and present [their] case was ably articulated by Plaintiffs’ counsel” at

 the contempt hearing. Id. at 12; see also id. at 10. Thus, Judge Moon would “impose upon Kline

 a fine of $200 per day of non-compliance, . . . payable to Plaintiffs.” Id. at 13.

        But Judge Moon also gave Kline an opportunity to purge himself of civil contempt—

 without paying any money—simply by completing step-by-step instructions to fulfil his

 outstanding discovery obligations. See id. at 13, 14–15. He suspended the imposition of

 sanctions for five days, “such that the first $200 fine would be incurred on Monday, December 2,

 2019, at 5:00 P.M. EST, if Kline should remain in non-compliance on that date and time; and

 each subsequent daily $200 fine will be incurred at 5:00 P.M. EST, on each following day of

 non-compliance, and continuing until Kline purges himself of contempt.” Id. at 13. “Should the

 imposition of such daily fines prove insufficient to achieve” compliance with the prior discovery

 orders, however, Judge Moon was “prepared to . . . incarcerate Kline until he purge[d] himself of

 contempt.” Id. Judge Moon also set a second in-person hearing for December 16, 2019, to

 evaluate Kline’s progress. See id. at 13–14. “In the interim, Kline’s efforts should [have]

 demonstrate[d] a single-minded focus on purging himself of contempt.” Id. at 14.

        Kline did not take this off-ramp, either. See Second Civil Contempt Order 1. In fact, by

 the time Plaintiffs filed this third motion for sanctions on December 6, 2019, Kline had given

 them only a single document: a different version of the August 10, 2017 “Operation Unite the

 Right Charlottesville 2.0” planning document. See Pls.’ 3d Mot. For Sanctions 16 (citing id. Ex

 G (“Report Version 8/10/2017 General Orders”), ECF No. 601-7, at 7–15. This version

 encouraged Unite the Right attendees to follow the Twitter handle “@NotEliMosley” for event

 updates, but it did not list Kline’s phone number(s) or email address(es). Id. Ex. G, at 12; see

 Pls.’ 3d Mot. for Sanctions 11–15 (discussing Kline’s multiple phone numbers, email addresses,



                                                   16
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 17 of 42 Pageid#:
                                  15611



 and mobile electronic devices used in 2017). On December 5, Kline told Plaintiffs’ counsel this

 was “the only document” he used for Unite the Right: “I would just edit the document on google

 docs and then send it to someone else to edit it and post it in the planning Discord. It was done as

 sort of a ‘living document’ where I would just keep editing the same one.” Id. Ex. G, at 2 (Email

 from E. Kline to Y. Barkai, et al. (Dec. 5, 2019 3:31 PM)). Also on December 5, Kline sent his

 long-overdue answers to Plaintiffs’ interrogatories in an unsigned half-page email to Plaintiffs’

 counsel. See id. at 16; First Civil Contempt Order ¶ 41(a); Second Civil Contempt Order 1; Fed.

 R. Civ. P. 33(b). His unsworn answers were materially incomplete, evasive, and, in some

 respects, contradicted by his earlier testimony. E.g., compare Pls.’ 3d Mot. for Sanctions Ex. G,

 at 16 ¶ 4 (“The only other [e]lectronic devices I used were laptops owned by . . . Richard Spencer

 and Nathan Damigo”), with First Contempt Hr’g Tr. 21, 25, 30–31, 41, 58–59, 65, 67 (Kline

 testifying that he used a “family computer” to check emails), and Kline Dep. Tr. 115, 397–98

 (Kline testifying that he used a “neighbor’s computer” in 2017); see Second Civil Contempt

 Order 1, 9–11 (discussing material omissions and discrepancies). Kline did not email copies to

 Judge Moon’s Chambers or to my Chambers as directed. See First Civil Contempt Order ¶ 41(a);

 Second Civil Contempt Order 9.

        On December 10, 2019, Judge Moon issued another Show Cause Order directing Kline to

 file a “response addressing any and all steps [he had] taken to purge himself of contempt,”

 including “how and when” he completed each discovery task outlined in the first Civil

 Contempt Order. Second Show Cause Order 2, ECF No. 602. Kline was supposed to email his

 response to Plaintiffs’ counsel, Judge Moon’s Chambers, and my Chambers by noon on

 December 13. Id. Judge Moon also ordered “Kline to bring with him to Charlottesville on




                                                 17
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 18 of 42 Pageid#:
                                  15612



 December 16, 2019, the home computer that he identified” and to give it to Plaintiffs so they

 could send it to the discovery vendor for imaging. Id.

        Shortly before noon on December 13, Kline emailed his response to Plaintiffs’ counsel

 and to my Chambers, but not to Judge Moon’s Chambers as was required. See Email from “Eli

 Mosley” to Y. Barkai, et al. (Dec. 13, 2019 11:32 AM). That “response did not state ‘how and

 when’” Kline completed each of the steps outlined in Judge Moon’s prior contempt order.

 Second Civil Contempt Order 6. Kline argued that he was “entirely in compliance with [his]

 discovery obligations to the best of [his] ability,” and he blamed Plaintiffs for not telling him

 “what else [he was] actually missing” since he could not access most of his social media

 accounts. The “home computer” that Kline had disclosed, which he now claimed did not even

 work “before, during[,] or after Unite the Right,” was no longer stored in his hometown. Id; see

 Second Contempt Hr’g Tr. 12 (“I went and checked both those storage sheds and it was no

 longer there. . . . [I]t must have been thrown out when we were moving.”). He also asked Judge

 Moon to postpone the second contempt hearing, or allow him to appear by telephone, because it

 would “be incredibly difficult” to make the ten-hour drive from upstate New York to

 Charlottesville. Judge Moon promptly denied that request. Order of Dec. 13, 2019, ECF No. 605.

         Kline appeared and testified at the second contempt hearing on December 16, 2019. As

 before, Judge Moon found “incredible Kline’s assertion that the did not know” how to fully and

 completely respond to Plaintiffs’ discovery requests. See Second Civil Contempt Order 9–10

 (citing First Civil Contempt Order ¶ 41(a)). Indeed, the email and social media account

 information Kline omitted from his written responses was “discussed at length” during the first

 contempt hearing and “was also a key issue addressed throughout the Civil Contempt Order”

 issued on November 27, 2019. Id. at 10. “It could come as no surprise to Kline that Plaintiffs



                                                  18
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 19 of 42 Pageid#:
                                  15613



 sought discovery from those sources and that those sources should have been listed in Kline’s

 answers” to the interrogatories. Id. Judge Moon also found that Kline did not “conduct a ‘diligent

 search’” for any other social media credentials that should have been provided to the discovery

 vendor and did not “submit any declaration under oath stating with specificity the reasons why

 he had been unable to access credentials for any email and social accounts.” Id. (citing First Civil

 Contempt Order ¶ 41(b)(i)–(ii)); see also id. at 11 (“This Court assessed Kline’s demeanor in his

 responses to this Court’s questions concerning his search for responsive documents and found

 unbelievable his explanations why he had only one responsive document.” (citation omitted)).

 Thus, Kline failed to purge himself of contempt in these respects. See id. at 8–12, 13 (finding by

 clear and convincing evidence that Kline remained in civil contempt).

        Nevertheless, Judge Moon did find that Kline had substantially “fulfilled any obligations

 with respect to” the requirements that he provide his Walmart phone and home computer to the

 discovery vendor for imaging and that he provided signed privacy and consent forms allowing

 the vendor to access identified social media accounts. Id. at 12–13 (citing First Civil Contempt

 Order ¶ 41(c), (d)); see Order of Jan. 7, 2020, at 2, ECF No. 621. Kline produced the Walmart

 phone, and he “testified under oath that his home computer could not be found.” Second Civil

 Contempt Order 12. Plaintiffs also appeared to concede that Kline could not at that time “take

 any further steps to fill out privacy or consent forms for any other social media companies”

 because Kline maintained he did not have access to those accounts and he did “not recall” the

 email addresses associated with them. Id. at 13.

        Having found that the more than $600 in monetary “sanctions imposed to date ha[d] not

 been sufficient to coerce Kline into compliance with this Court’s orders,” Judge Moon concluded

 “that more stringent sanctions [were] therefore appropriate and necessary to achieve this end.”



                                                    19
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 20 of 42 Pageid#:
                                  15614



 Id. at 15. He ordered Kline to appear at the United States Courthouse in Charlottesville at noon

 on Monday, January 6, 2020 and surrender himself to USMS custody. Id. at 16. Kline was to

 “bring with him any and all documents, electronic devices, credentials to access e-mail and

 social media accounts, and materials he would need to purge himself of contempt.” Id. Judge

 Moon reminded Kline that he “still ha[d] an opportunity to reduce his fines” and avoid

 imprisonment “by completing the steps set forth in paragraph 41(a) and (b)” of the First Civil

 Contempt Order. Id.

         Kline took “some steps” towards that modest goal between December 30 and January 2.

 See Order for Elliott Kline to Surrender to USMS Custody 2, ECF No. 613 (“Surrender Order”).

 “For one, he submitted to Plaintiffs his long-outstanding responses to Plaintiffs’ first set of

 discovery requests, and they were signed and under oath, as was required.” Id. He also “added

 some more detail” to his earlier deficient answers. And he paid the $600 remedial fine

 representing “three days of his civil contempt fines accumulated” as of December 5, 2019. Id.;

 see Second Civil Contempt Order 13–14. “But the inquiry at th[at] very late stage of non-

 compliance,” just three days before Kline would surrender to USMS custody, was “not whether

 Kline ha[d] taken some steps to purge himself of contempt.” Surrender Order 3. Rather, Kline

 needed to show that he “took all reasonable steps to ensure compliance.” Id. (quoting Schwartz v.

 Rent-a-Wreck of Am., 261 F. Supp. 3d 607, 615 (D. Md. 2017) (emphasis omitted)). As of

 Friday, January 3, Kline “inexplicably” still had not followed most of the Court’s clear, step-by-

 step instructions—including that he must send all required updates and responses to Judge

 Moon’s Chambers’ email account, as well as to Plaintiffs’ counsel and my Chambers’ email

 account. See id. And, Kline continued to claim that he had “just one document” responsive to

 Plaintiffs’ discovery requests even after Judge Moon concluded Kline’s position was



                                                  20
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 21 of 42 Pageid#:
                                  15615



 “unbelievable” and that he “did not ‘credit Kline’s assertion that he conducted a reasonable and

 diligent search through all available accounts, electronic devices, and sources of records.’” Id.

 (quoting Second Civil Contempt Order 11).

        Kline arrived at the federal courthouse in Charlottesville before noon on January 6, 2020.

 That afternoon, Judge Moon held a hearing with Kline and Plaintiffs’ counsel to determine

 whether Kline remained in civil contempt, or whether he was “presently unable to comply with .

 . . or ha[d] substantially complied with the provisions in paragraph 41(a) and (b)” of the

 November 27, 2019 Civil Contempt Order. See Order of Jan. 7, 2020, at 1–2. Earlier in the day,

 “Plaintiff raised an as-yet-unanswered, substantial question whether Kline ha[d] ‘fully and

 completely’ responded” to their discovery requests or otherwise provided the discovery vendor

 “account credentials for ‘every’ social media or email account which may contain discoverable

 information,” as required by paragraph 41. Id. at 2. Specifically, Plaintiffs identified Tweets that

 “appear[ed] to have been sent by Kline soliciting relevant photographic or other evidence about

 the Unite the Right rally to be sent to a ‘CvilleReports’ email address.” Id. at 2–3; see Pls.’

 Supp’l Br. Ex. A, at 2–3, @ThatEliMosley replying to @NotEliMosley, Twitter (undated), ECF

 No. 615-1. Kline testified that he did not “recognize” this email address and did not “remember

 making [it] or anything like that.” Tr. of Jan. 6, 2020 Status Conf. 9. He might have posted it on

 Twitter for someone else. Id. Judge Moon remanded Kline to custody so he could “conduct a

 diligent search of any and all documents to which he ha[d] access to uncover credentials for th[e]

 ‘CvilleReports’ email account,” and “to demonstrate there [were] no other remaining accounts

 omitted” from his discovery responses. Order of Jan. 7, 2020, at 3 (citing First Civil Contempt

 Order ¶ 41(b)(i)). If Kline could not locate any such credentials, then he “must submit ‘a

 declaration under oath and under penalty of perjury, to that effect, and which states with



                                                  21
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 22 of 42 Pageid#:
                                  15616



 specificity the reasons why such credentials are unavailable’” to him. Id. (quoting First Civil

 Contempt Order ¶ 41(b)(ii)).

         Around 2:00 p.m. on January 7, Kline submitted a sworn declaration summarizing the

 “few things” he did to uncover the credentials for the CvilleReports email account. Kline Decl. 1,

 ECF No. 625. First, he tried the passwords associated with his other identified Gmail accounts.

 Those did not work.11 Second, he noted Google could “send a verification number, but it doesn’t

 tell you the phone number associated with the account.” Id. It therefore did “not appear” to Kline

 that this Gmail “account [was] associated with [his] phone number.” Id. Finally, he entered “all 3

 of [his] email addresses as the recovery email” for a forgotten password, but “they did not work

 to recover anything.” Id. Thus, Kline “conclude[d] that his account is not one that [he] had

 access to, and the [Twitter] post referencing it was to spread the word for someone else.” Id. at

 1–2. The following morning, Plaintiffs filed a response and exhibits showing that CvilleReports

 was registered to “Eli Mosley,” Kline’s confirmed online alias during the relevant period. See

 Pls.’ Resp. to Kline Decl. 3 (citing id. Ex. A, Email from Identity Evropa to Eli Mosley

 <cvillereports@gmail.com> (Aug. 16, 2017 3:59 PM)). Printouts from Google’s “Account

 Recovery” webpage showed that “Eli Mosley” added the phone number (***) ***-**29, and the

 email address dep************@gmail.com, as methods to verify that the CvilleReports

 “account really belong[ed]” to him.12 Id. Exs. B & C, ECF Nos. 631-2 to 631-3. Kline previously


 11
   Plaintiffs asked the discovery vendor to try to access the CvilleReports account using these passwords
 as well, but the vendor was unsuccessful. Pls.’ Resp. to Kline Decl. 5, ECF No. 631.
 12
    Google’s “account recovery” feature reveals only the first three characters and total number of
 characters of the alternative email address associated with the Gmail account for which one is trying to
 recover a forgotten password. Similarly, it reveals only the last two digits for the phone number
 associated with the Gmail account. Presumably only the actual account holder would have access to the
 alternative email address and phone number associated with the Gmail account one is trying to recover.
 See Pls.’ Resp. to Kline Decl. 3 n.1, 4 n.2. In February 2020, Judge Moon noted that “Plaintiffs presented
 evidence and argument—to which Kline ha[d] not responded though afforded the opportunity (Dkt. 634,
 at 3)—that even when faced with severe sanctions and incarceration, he still may have lied under oath
                                                     22
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 23 of 42 Pageid#:
                                  15617



 stated under oath that the “primary communication device [he] used before, during and after the

 [UTR] event” was an iPhone assigned the phone number (610) ***-**29. Kline’s primary email

 address, deplorabletruth@gmail.com, started with the same three letters and contained the same

 number of characters as the CvilleReports account’s recovery email. Yet, Kline insisted in

 testimony before Judge Moon that he “did not know about this email address” before Plaintiffs

 raised it at the January 6 status conference. See Tr. of Jan. 6, 2020 Status Conf. 26–27, 30–32,

 35; see also id. at 9, 15–16, 22–23, 27, 32, 35–37 (Kline testifying that he did not remember

 making or accessing the CvilleReports account). Plaintiffs were convinced that they would not

 receive the emails Kline possessed in the CvilleReports account and that Kline could not “be

 trusted to participate in this discovery process in good faith.” Pls.’ Resp. to Kline Decl. 2. Thus,

 they did “not believe” that requiring Kline to spend any more time in jail would meaningfully

 “resolve this interminable saga and move the case forward.” Id. They asked Judge Moon to

 authorize the discovery vendor to produce any presumptively responsive documents or

 information recovered from Kline’s electronic devices and social media accounts, including

 CvilleReports@gmail.com, directly to Plaintiffs’ counsel for review. See id. at 5–7. Kline did not

 respond. See Order of Jan. 22, 2020, at 2, ECF No. 638; Order of Feb. 7, 2020, at 3.

         Judge Moon released Kline from custody on January 8, 2020. See Release Order 4. “To

 be clear,” though, “Kline remain[ed] in civil contempt.” Id. He still had not proven that he

 purged himself of contempt while detained, that he was presently unable to comply with the


 about this [CvilleReports] email account.” Order of Feb. 7, 2020, at 3, ECF No. 644. Judge Moon could
 not “simply accept Kline’s word on the matter” considering this evidence and the record before the Court.
 Id.; see also Order of Jan. 8, 2020, at 3 (“Plaintiffs’ assertions at this stage are grave—that Kline has
 persisted in lying to this Court under oath and under penalty of perjury, even while being held in
 incarceration for civil contempt. And Plaintiffs have provided documentation and evidence in support.”),
 ECF No. 634 (“Release Order”); Tr. of Jan. 6, 2020 Status Conf. 39 (Judge Moon to Kline: “[T]he Court
 has pretty much decided that your testimony is not credible. So we have to verify now. You have not even
 complied enough for us to verify whether you are telling the truth and cannot do anymore.”).

                                                    23
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 24 of 42 Pageid#:
                                  15618



 Court’s orders, or that he had taken all reasonable steps to ensure he had substantially complied

 with those orders. Id. Nor had Kline “responded ‘fully and completely’ to Plaintiffs’ discovery

 requests” or “turned over or provided access to any and all potentially relevant e-mail and social

 media accounts.” Id. (citing First Civil Contempt Order ¶ 41(a)–(b)). But, Judge Moon agreed

 with Plaintiffs that “other measures besides further incarceration” and additional remedial fines

 would “most effectively secure Kline’s compliance” with the discovery orders. See id. at 4–5

 (noting that Kline incurred $5,800 payable to Plaintiffs for his noncompliance). He granted

 Plaintiffs’ requests for an order authorizing the discovery vendor to give Plaintiffs’ counsel

 direct access to presumptively responsive documents or information found on Kline’s electronic

 devices and social media accounts, including CvilleReports@gmail.com. See Order of Jan. 22,

 2020, at 2–3; Order of Feb. 7, 2020, at 3–4.13 Judge Moon also directed Plaintiffs and Kline, by

 January 29, 2020, “to file briefs addressing any steps Kline ha[d] taken to either purge himself of

 contempt or any such additional measures or sanctions sought by Plaintiffs’ from Kline’s

 contumacy.” Release Order 3.

         Plaintiffs filed supplemental briefs reiterating their requests for evidentiary sanctions on

 January 29, February 7, February 12, and March 13, 2020. ECF Nos. 642, 645, 649, 679/682.

 Those briefs show that Kline has done absolutely nothing to purge himself of civil contempt.

 Moreover, Plaintiffs obtained third-party discovery indicating that Kline falsely testified—

 multiple times over many months—that the (347) phone number listed on certain versions of the

 “Charlottesville 2.0” planning document was not his and that he had “never” had a phone



 13
   On February 12, 2020, Plaintiffs informed the Court that the discovery vendor “successfully access[ed]
 the email account CvilleReports@gmail.com by using Kline’s deplorabletruth@gmail.com account as a
 recovery email address.” Pls.’ Third Supp’l Br. in Supp. of 3d Mot. for Sanctions 1 (citing id. Ex. B,
 Email from B. Williams to J. Phillips, et al. (Feb. 11, 2020 7:36 AM), ECF No. 649-2, at 2), ECF No.
 649. They did not say whether this account contained any relevant content. See id.

                                                    24
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 25 of 42 Pageid#:
                                  15619



 number with that area code. See Pls.’ Second Supp’l Br. in Supp. of 3d Mot. for Sanctions 2–4

 (citing Pls.’ 3d. Mot. for Sanctions Exs. E & F; Pls.’ Second Supp’l Br. in Supp. of 3d Mot. for

 Sanctions Ex. A, Google Voice Report 2–249 (May 19, 2017 to Jan. 2, 2018), ECF No. 657);

 Second Contempt Hr’g Tr. 23–25; Tr. of Jan. 6, 2020 Status Conf. 16, 24), ECF No. 645. Google

 Voice records for the (347) number—the same one listed on the Charlottesville 2.0 planning

 documents—show that it was registered to an “Eli Mosley” and connected to the email address

 deplorabletruth@gmail.com. Pls.’ Second Supp’l Br. in Supp. of 3d Mot. for Sanctions Ex. A, at

 2. Plaintiffs contend that Kline used this number for calls and text messages around the time of

 the Unite the Right rally, including the weekend of August 11–12, 2017. Pls.’ Second Supp’l Br.

 in Supp. of 3d Mot. for Sanctions 3–4 (citing id. Ex. A, at 2). These records also “seem[] to

 indicate that Kline forwarded incoming text messages and phone calls from the (347) number to

 a (484) number during various periods from October to December 2017.”14 Id. at 4 (citing id. Ex.

 A, at 2–249). The (484) area code is assigned to southeastern Pennsylvania, id., which is where

 Kline resided when he was served with this lawsuit on October 11, 2017, see ECF No. 62. On

 January 6, 2020, Kline testified that he had a (484) phone number, in addition to the (610) phone

 number listed on the June 2017 version of the “Charlottesville 2.0” planning document. See Tr.

 of Jan. 6, 2020 Status Conf. 19–20, 22. He insisted that he’d “never” seen the (347) phone

 number except on the Charlottesville 2.0 document. Id. at 20; see also Second Contempt Hr’g Tr.

 23 (“I’ve never seen that number. I don’t know where it’s from. . . . I never had a 347 number

 linked to me or anything like that.”); id. at 25 (“I never used any 347 number or any number

 during this, other than the (610) ***-**29 number.”).



 14
   It appears that Kline canceled the Google Voice service on January 2, 2018, see id. at 3–4, shortly after
 his former attorneys entered their appearance in this matter, ECF No. 131 (Dec. 1, 2017).

                                                     25
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 26 of 42 Pageid#:
                                  15620



         The Court has not heard from Kline since he was released from custody on January 8,

 2020. See Order of Jan. 22, 2020, at 2; Order of Feb. 7, 2020, at 3; Fourth Disc. Order to Def.

 Elliott Kline (July 24, 2020) (granting Plaintiffs’ motion to be reimbursed for reasonable fees

 and expenses incurred by Kline’s failure to attend a properly noticed deposition on July 2, and to

 compel his attendance at a videoconference deposition on August 12, 2020), ECF No. 815.

                                             IV. Discussion

         Plaintiffs’ pending Rule 37 motion seeks three evidentiary sanctions against Kline. See

 generally Pls.’ 3d Mot. for Sanctions 4, 18–22; Pls.’ Resp. to Order of Jan. 8, 2020, at 2, 3–6,

 ECF No. 642; Pls.’ Second Supp’l Br. in Supp. of 3d Mot. for Sanctions 4–5; Pls.’ Third Supp’l

 Br. in Supp. of 3d Mot. for Sanctions 4; Pls.’ Redacted Fourth Supp’l Br. in Supp. of 3d Mot. for

 Sanctions 4–5, ECF No. 679. First, they ask the Court to “deem [the] facts listed in Appendix A

 to this Motion established,” Pls.’ 3d Mot. for Sanctions 23, for purposes of the action. Fed. R.

 Civ. P. 37(b)(2)(A)(i). That list includes certain factual issues that Plaintiffs must prove at trial to

 hold Kline liable for conspiring to engage in violence against racial or religious minorities and

 their supporters. Compare Pls.’ 3d Mot. for Sanctions 27–28, at § I ¶¶ 3–13 (proposed facts),

 with Mem. Op. on Defs.’ Mots. to Dismiss Am. Compl. 13–21, 32–34, 41–44 (discussing the

 essential elements of a § 1985(3) conspiracy claim; summarizing Plaintiffs’ factual allegations

 that Kline (a.k.a. “Eli Mosley”) described himself “as ‘command soldier major of the alt-right,’

 his use of Discord to share fighting tactics, and his alleged organization of attendees at the Friday

 night march”; concluding that the Amended Complaint “adequately alleged that he was part of a

 conspiracy to commit racial violence”; and concluding that certain Defendants’ acts of violence

 resulting in Plaintiffs’ injuries were “reasonably foreseeable to [their] co-conspirator

 Defendants”). For example, Plaintiffs propose the following language:



                                                   26
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 27 of 42 Pageid#:
                                  15621



            •   “Kline entered into an agreement with one or more coconspirators to plan the
                Unite the Right event that took place in Charlottesville, Virginia on August 11
                and 12, 2017.” Pls.’ 3d Mot. for Sanctions 27–28, at § I ¶ 3.
            •   “Kline entered into an agreement with one or more coconspirators to engage in
                racially-motivated violence” on August 11 and 12, 2017. Id. ¶¶ 4–5.
            •   “Kline was motivated by animus against racial minorities, Jewish people, and
                their supporters when conspiring to engage in acts of intimidation and violence on
                August 11 and 12, 2017.” Id. ¶ 6
            •   “It was reasonably foreseeable to . . . Kline and intended by him that
                coconspirators would commit acts of racially-motivated violence and intimidation
                at the torchlight event,” on August 11, id. ¶ 7, and at the Unite the Right rally on
                August 12, 2017, id. ¶ 8.
            •   “It was reasonably foreseeable to . . . Kline and intended by him that a
                coconspirator would engage in racially-motivated violence by intentionally
                driving a car into a crowd of counter-protestors on August 12, 2017.” Id. ¶ 9.
            •   “Kline committed multiple overt acts in furtherance of the conspiracy he entered
                into to commit racially-motivated violence . . . on August 12, 2017.” Id. ¶ 10.
            •   “Kline attended the torchlight march on August 11, 2017 and committed acts of
                intimidation and violence in furtherance of the conspiracy.” Id. ¶ 11.
            •   “Kline attended the Unite the Right event on August 12, 2017 and committed acts
                of intimidation and violence in furtherance of the conspiracy.” Id. ¶ 12.
            •   “Kline [later] ratified the racially motivated violence that occurred” at the Unite
                the Right events in Charlottesville on August 11–12, 2017. Id. ¶ 13.

 Defendant Spencer (and, to a lesser extent, Defendant Cantwell) objected that most of Plaintiffs’

 proposed findings “are so broad” that they would “negate [his] defenses” and deprive him of his

 rights to due process and trial by jury. Def. Spencer’s Resp. in Opp’n to Pls.’ Mot. for Sanctions

 Against Defs. Kline & Heimbach 4, 6, ECF No. 469; see also Def. Cantwell’s Resp. in Opp’n to

 Pls.’ 3d Mot. for Sanctions 1, 4–5, ECF No. 637. Put differently, deeming these facts established

 would satisfy Plaintiffs’ burden to prove at trial that “a conspiracy existed,” there was “an
                                                  27
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 28 of 42 Pageid#:
                                  15622



 agreement to engage in racially, ethically and religiously motivated violence,” and “it was

 foreseeable that a co-conspirator would commit racially motivated violence,” including driving

 his car into counter-protestors. Def. Spencer’s Resp. in Opp’n to Pls.’ Mot. for Sanctions Against

 Defs. Kline & Heimbach 5–6. Plaintiffs replied that the proposed facts are “limited by their

 terms to apply exclusively to Kline” and “are little more than a proxy for the type of evidence

 that would have been admissible at trial anyway had Kline . . . chosen to participate” in

 discovery. Pls.’ Reply to Def. Spencer’s Resp. in Opp’n to Pls.’ Mot. for Sanctions Against Defs.

 Kline & Heimbach 2, ECF No. 475; see also Pls.’ Reply to Def. Cantwell’s Resp. in Opp’n to

 Pls.’ 3d Mot. for Sanctions 4–5, ECF No. 641. Plaintiffs still “must prove that ‘each Defendant

 entered into an agreement with a specific co-conspirator to engage in racially motivated violence

 at the August 11th and 12th events.’” Pls.’ Reply to Def. Spencer’s Resp. in Opp’n to Pls.’ Mot.

 for Sanctions Against Defs. Kline & Heimbach 3 (quoting Mem. Op. on Defs.’ Mots. to Dismiss

 Am. Compl. 21) (emphasis omitted). Defendants’ concerns about the “spillover effect of

 evidentiary rulings” against Kline, such as the risk that the jury will unfairly presume other

 Defendants also defied the Court’s discovery orders, can be addressed with an appropriate

 limiting instruction. See id. at 2–6; Pls.’ Reply to Def. Cantwell’s Resp. in Opp’n to Pls.’ 3d Mot.

 for Sanctions 5–8; Def. Spencer’s Resp. in Opp’n to Pls.’ Mot. for Sanctions Against Defs. Kline

 & Heimbach 1, 6.

        Second, Plaintiffs ask the Court to “deem authentic for purposes of Rule 901 of the

 Federal Rules of Evidence . . . any documents that Plaintiffs have a good-faith basis to believe

 that Kline created, including all documents from the social media accounts listed in Appendix A

 to th[eir] Motion, as well as any photographs taken by or depicting Kline.” Pls.’ 3d Mot. for

 Sanctions 4 (citing Fed. R. Evid. 901(a)). That list includes sixteen different social media



                                                  28
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 29 of 42 Pageid#:
                                  15623



 accounts for which “Plaintiffs have a good-faith basis to believe . . . belong to Defendant Kline,”

 including eight Twitter handles, four Discord usernames, and two Facebook accounts. Pls.’ 3d

 Mot. for Sanctions 28–29, at § II ¶¶ 1–16. This proposed sanction would establish a factual

 presumption, subject to rebuttal by any Defendant, that certain documents or photographs

 Plaintiffs might offer into evidence at trial are “what the proponent claims” them to be, Fed. R.

 Evid. 901(a). See Pls.’ Reply to Def. Spencer’s Resp. in Opp’n to Pls.’ Mot. for Sanctions

 Against Defs. Kline & Heimbach 8–9; cf. United States v. Vidacak, 553 F.3d 344, 349 (4th Cir.

 2009) (“The factual determination of whether evidence is that which the proponent claims is

 ultimately reserved for the jury. The district court’s role is to serve as gatekeeper in assessing

 whether the proponent has offered a satisfactory foundation from which the jury could

 reasonably find that the evidence is authentic.” (internal citation omitted)); Orr v. Bank of Am.,

 285 F.3d 764, 776 (9th Cir. 2002) (“[W]hen a document has been authenticated by a party, the

 requirement of authenticity is satisfied as to that document with regards to all parties, subject to

 the right of any party to present evidence to the ultimate fact-finder disputing its authenticity. . . .

 [A]n inquiry into authenticity concerns the genuineness of an item of evidence, not its

 admissibility.” (internal footnote and citation omitted)). Contrary to Spencer’s concern that this

 sanction “implicates” other evidentiary rules, Def. Spencer’s Resp. in Opp’n to Pls.’ Mot. for

 Sanctions Against Defs. Kline & Heimbach 7 n.11 (citing Fed. R. Evid. 801)), establishing a

 rebuttable presumption that a document or photograph is genuine would not impact the trial

 judge’s determination whether that item is admissible into evidence, Orr, 285 F.3d at 776; Pls.’

 Reply to Def. Spencer’s Resp. in Opp’n to Pls.’ Mot. for Sanctions Against Defs. Kline &

 Heimbach 8–9. See generally Lorraine v. Markel Am. Ins. Co., 241 F.R.D. 534, 538–85 (D. Md.

 2007) (explaining that ESI is admissible into evidence only if the court finds that it is relevant,



                                                   29
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 30 of 42 Pageid#:
                                  15624



 authentic, and offered in an acceptable format; its probative value is not substantially outweighed

 by a danger of unfair prejudice or certain other factors; and, if the ESI is a statement offered to

 prove the truth of the matter asserted, it either is not hearsay or it is admissible under an

 exception to the rule against hearsay (citing Fed. R. Evid. 401, 403, 801, 803, 804, 807, 901,

 1001–1008)).

        Third, Plaintiffs ask the Court to give the jury a permissive adverse-inference instruction

 grounded in Kline’s admitted failures to preserve and produce relevant information and

 documents going to the heart of Plaintiffs’ conspiracy claims against him. Pls.’ 3d Mot. for

 Sanctions 24; see also Mem. Op. of Aug. 9, 2019, at 1, 25, 32. More specifically, they ask the

 Court to “instruct the jury that Kline chose to intentionally withhold his documents, and that the

 jury may draw adverse inferences from that fact, including that Kline chose to withhold such

 documents because he was aware that such documents contained evidence that Kline conspired

 to plan racially-motivated violence at Unite the Right.” Pls.’ 3d Mot. for Sanctions 24. No

 Defendant objected to this request.

                                                    *

        Nearly three years ago, Plaintiffs served Kline with discovery requests for information

 and materials directly relevant to the claims and defenses in this case. His proper responses or

 objections were due by February 26, 2018. Kline did not respond. He then disobeyed multiple

 court orders—including my oral order of March 16, 2018, ECF No. 282, and my written orders

 of July 3 and August 8, 2019, ECF Nos. 516, 538—directing him to provide or permit discovery

 of the same materials within his control. See Mem. Op. of Aug. 9, 2019, at 12–13, 28 & n.10;

 First Civil Contempt Order 9–11. In August 2019, I found that Kline acted in bad faith by

 stonewalling and ignoring the Court’s orders over the previous eighteen months—and that such



                                                   30
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 31 of 42 Pageid#:
                                  15625



 misconduct must obviously be deterred lest any other litigant think he or she can behave this way

 in federal court. Mem. Op. of Aug. 9, 2019, at 4, 29–31; see Nat’l Hockey League, 427 U.S. at

 640–42; Lee, 638 F.3d at 1319 (“No one . . . should count on more than three chances to make

 good a discovery obligation.”); Young Again Prods., Inc. v. Acord, 459 F. App’x 294, 301–04

 (4th Cir. 2011); Nw. Nat’l Ins. Co. v. Baltes, 15 F.3d 660, 663 (7th Cir. 1994) (“Lawyers and

 litigants who decide that they will play by rules of their own invention will find that the game

 cannot be won.”); Progressive Minerals v. Rashid, No. 5:07cv108, 2009 WL 2761295, at *4

 (N.D. W. Va. Aug. 28, 2009); 8B Federal Practice & Procedure § 2281 (3d ed. 2002) (“[A]ny

 party or person who seeks to evade or thwart full and candid discovery incurs the risk of serious

 consequences.”). I also found that Kline’s “‘repeated and ongoing misconduct’” thus far had

 “caused ‘significant procedural . . . prejudice’ to Plaintiffs’ ability to resolve their claims in a

 just, speedy, and inexpensive manner.” Mem. Op. of Aug. 9, 2019, at 33 (quoting First Mariner

 Bank v. Resolution Law Grp., First Mariner Bank v. Resolution Law Grp., 2014 WL 1652550, at

 *19 (D. Md. Apr. 22, 2014) (First Mariner II)). Plaintiffs expended enormous resources dealing

 with Kline’s “unacceptable delays, obfuscations, and disregard for both their proper discovery

 requests and this Court’s many orders trying to enforce them.” Id. at 33 (citing Diamond v.

 Mohawk Indus., Inc., No. 6:12cv57, 2014 WL 1404563, at *5–6 (W.D. Va. Apr. 10, 2014)); see

 also id. at 31–34; cf. Saria v. Mass. Mut. Life Ins. Co., 228 F.R.D. 536, 540 (S.D. W. Va. 2005)

 (noting that plaintiff’s “‘pick-and-choose’ approach to answering” discovery had “waste[d] the

 parties’ own valuable discovery time and ultimately force[d] the court to clean up a mess which

 could have been altogether avoided”).

         In August 2019, however, “we [were] not yet to the point” that Plaintiffs could not

 “‘present evidence essential to [their] underlying claim’” against Kline. Mem. Op. of Aug. 9,



                                                    31
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 32 of 42 Pageid#:
                                  15626



 2019, at 34 (quoting Pls.’ Mot. for Sanctions Against Defs. Kline & Heimbach 21); see also id.

 at 25, 32–33. Moreover, Kline recently assured the Court and Plaintiffs that he understood his

 discovery obligations and he intended to comply with the Court’s orders that he participate in

 good faith going forward. See id. at 27–29, 34–35. In my view, “production was preferable to

 evidentiary sanctions at th[at] point in the litigation.” Id. at 26; accord First Contempt Hr’g Tr.

 78 (“As Judge Hoppe said, it is possible that the requested evidentiary sanctions will become the

 only recourse available to [P]laintiffs, and he and this Court have taken those under advisement;

 but at present it is preferable that the facts and the evidence be uncovered rather than the case

 rely on evidentiary presumptions.”). I explained that “it would be unjust for the Court to direct

 that Plaintiffs’ version of ‘designated facts be taken as established for purposes of the action,’

 Fed. R. Civ. P. 37(b)(2)(A)(i),” if Kline produced the discovery in enough time for Plaintiffs to

 prepare their case for trial. Mem. Op. of Aug. 9, 2019, at 34. I also would have a better sense of

 Plaintiffs’ request for an adverse-inference instruction after counsel deposed Kline about what

 steps, if any, he took to preserve potentially relevant evidence. Id. (citing Victor Stanley, 269

 F.R.D. at 525–26; Sampson, 251 F.R.D. at 181). Should Kline not follow through, however, the

 Court likely would have run out of options “other than to impose significant evidentiary

 sanctions.” Id. at 35; see also id. at 34 (“Plaintiffs’ requested evidentiary sanctions—including

 the adverse inference and an order deeming some of their proposed facts established—would be

 available, and certainly could be appropriate in this case, if Kline . . . fail[s] to produce the

 discovery from this point forward.”).

                                                   **

         Kline did not follow through. In fact, Kline responded to two federal judges’ patient

 indulgence with broken promises, halfhearted steps towards compliance, and countless sworn



                                                   32
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 33 of 42 Pageid#:
                                  15627



 statements that were “evasive, internally inconsistent, or simply not believable.” Certification

 Order 10; see generally Fourth Disc. Order to Def. Elliott Kline 1; Order of Jan. 22, 2020, at 1–

 3; Release Order 3–5; Tr. of Jan. 6, 2020 Status Conf. 28–39; Surrender Order 2–6; Second

 Contempt Hr’g Tr. 11–13, 36–40; Second Civil Contempt Order 1–2, 8–14; First Contempt Hr’g

 Tr. 3–5, 45–55, 57, 59–73; First Civil Contempt Order 4–7, 9–12; 75–79; Certification Order 9–

 12. On January 6, 2020, Judge Moon told Kline, “I’ve spent more time on your discovery issue

 than on all the other cases I’ve ever had in . . . 22 years. I never had to follow up with a

 magistrate judge in the manner I’ve had to in this case.” Tr. of Jan. 6, 2020 Status Conf. 31–32.

 Kline stated that he understood, though he again tried to blame Plaintiffs’ counsel for his failure

 to fulfill his discovery obligations. Id. at 32; see also First Civil Contempt Order 7. Two days

 later, Plaintiffs produced documentation that “Kline ha[d] persisted in lying to this Court under

 oath and under penalty of perjury, even while being held in incarceration for civil contempt.”

 Release Order 3 (citing Pls.’ Resp. to Kline Decl., ECF No. 631). Thus, there is no question that

 Kline disobeyed this Court’s discovery orders in bad faith. See, e.g., Nat’l Hockey League, 427

 U.S. at 640, 643 (district court did not abuse discretion in finding “flagrant” bad faith “[a]fter

 seventeen months where crucial interrogatories remained substantially unanswered despite

 numerous extensions granted at the eleventh hour and, in many instances, beyond the eleventh

 hour,” plaintiffs’ broken promises to act by a date certain, and the court’s repeated warnings that

 their failure to provide certain information could result in Rule 37 sanctions); Young Again

 Prods., 459 F. App’x at 302 (finding bad faith where the “record reflect[ed] a pattern of

 noncompliance,” including that the “district court was repeatedly compelled to admonish”

 sanctioned defendants “even after it warned them that it was going to take pretrial process ‘very

 seriously,’” defendants “made no effort to acknowledge their obligations,” and one defendant



                                                   33
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 34 of 42 Pageid#:
                                  15628



 tried “to pin the blame on her former attorney” who withdrew representation after defendant

 failed to cooperate and communicate with counsel); Certain Underwriters at Lloyd’s, London v.

 Advanfort Co., No. 1:18cv1421, 2019 WL 3366103, at *8 (E.D. Va. July 25, 2019) (“In the

 Fourth Circuit, bad faith includes willful conduct, where the party ‘clearly should have

 understood his duty to the court’ but nonetheless ‘deliberately disregarded’ it.” (quoting Rabb v.

 Amatex Corp., 769 F.2d 996, 1000 (4th Cir. 1985)); cf. Plant v. Merryfield Town Ctr. Ltd.

 P’ship, 711 F. Supp. 2d 576, 584, 587 (E.D. Va. 2010) (finding bad faith was “clearly

 evidenced” by plaintiffs’ “repeated and flagrant disregard” for two of magistrate judge’s

 discovery orders and “counsel’s misrepresentation of material facts concerning plaintiffs’

 noncompliance” with them); In re Derivium Capital, 372 B.R. 777, 784–86 (Bankr. D.S.C.

 2007) (finding that plaintiff acted in bad faith where, despite being given “a clear and fair

 warning that he must fulfill” discovery obligations or face “drastic” Rule 37 sanctions, plaintiff

 failed to respond to court-ordered discovery, engaged in “litigation tactic[s] designed to escape

 the ramifications” of disobeying the order, and “did not offer substantial excuses” for his

 noncompliance).

         Next, I must decide which sanctions are “just” based on all the facts in this case and the

 claims at issue in the Court’s prior discovery orders. See Ins. Corp. of Ir., 456 U.S. at 707 (citing

 Fed. R. Civ. P. 37(b)(2)(A)); S. New England Tele. Co. v. Global NAPs, Inc., 624 F.3d 123, 144

 (2d Cir. 2010) (“[T]he district court is free to consider the full record in the case in order to select

 the appropriate sanction.” (internal quotation marks omitted)). This requires me to consider the

 kind and degree of prejudice Kline’s noncompliance caused Plaintiffs and whether alternative,

 less drastic sanctions would provide an effective remedy. See Samsung Elecs. Co. v. NVIDIA

 Corp., 314 F.R.D. 190, 200–04 (E.D. Va. 2016).



                                                   34
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 35 of 42 Pageid#:
                                  15629



        Kline’s noncompliance with the discovery orders “resulted in significant procedural and

 substantive prejudice” to Plaintiffs. First Mariner II, 2014 WL 1652550, at *19. I already

 awarded attorney’s fees against Kline of $12,528.33 to sanction him for the procedural

 prejudice—namely “evasiveness, delay, and obfuscation,” id. at *3—he caused Plaintiffs’ ability

 to develop their case in a just, speedy, and inexpensive manner. See Mem. Op. of May 26, 2020,

 at 1, 4, 21; Mem. Op. of Aug. 9, 2019, at 33–35. Again, it is important that anyone

 contemplating similar tactics understand that he cannot avoid discovery in federal litigation—

 and especially not in response to a court order. Mem. Op. of Aug. 9, 2019, at 31 (citing

 Progressive Minerals, 2009 WL 2761295, at *4); see also First Mariner Bank v. Resolution Law

 Grp., Civ. No. MJG-12-1133, 2013 WL 5797381, at *10 (D. Md. Oct. 24, 2013) (First Mariner

 I) (“[P]iecemeal, less than complete and slow production takes a toll and inflicts a disadvantage

 on the requesting party. . . . It is wearing, counter-productive, wholly unacceptable and

 sanctionable.”); Fed. R. Civ. P. 37(b)(2)(C). “‘[S]talling and ignoring the direct orders of the

 court with impunity’ is ‘misconduct’ that ‘must obviously be deterred’” and will be sanctioned as

 justice requires. Young Again Prods., 459 F. App’x at 303 (quoting Mut. Fed. Savs. & Loan, 872

 F.2d at 93).

        I now have a clearer idea how Kline’s failure to produce much of the requested

 discovery, or to give believable answers why the discovery did not exist, has harmed Plaintiffs’

 substantive ability to prove at trial their civil conspiracy claim against Kline. Certification Order

 10–11; see also First Civil Contempt Order 10, 12; First Contempt Hr’g Tr. 74–75; Mem. Op. of

 Aug. 9, 2019, at 34–35. To start, as Plaintiffs pointed out in their first motion for sanctions,

 discovery was especially critical in this case because it is inherently difficult to prove a

 conspiracy. See Mem. Op. of Aug. 9, 2019, at 25, 32–33 (citing Pls.’ Mot. for Sanctions Against



                                                   35
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 36 of 42 Pageid#:
                                  15630



 Defs. Kline & Heimbach 21–22). Even in criminal prosecutions, “a conspiracy is usually proven

 by circumstantial evidence” such as “a defendant’s relationship with other members of the

 conspiracy, the length of this association, the defendant’s attitude and conduct, and the nature of

 the conspiracy.” United States v. Yearwood, 518 F.3d 220, 226 (4th Cir. 2008) (cleaned up); see

 Mem. Op. of Aug. 9, 2019, at 32 (citing Yearwood, 518 F.3d at 226). Plaintiffs sought from

 Kline “myriad communications, documents, and ESI” that could “help them prove that ‘each

 Defendant entered into an agreement with a specific co-conspirator to engage in racially

 motivated violence at the August 11th and 12th events.’” Mem. Op. of Aug. 9, 2019, at 32

 (quoting Mem. Op. on Defs.’ Mots. to Dismiss Am. Compl. 21); see Pls.’ Mot. for Sanctions

 Against Defs. Kline & Heimbach 21–22. Kline’s failure to comply fully with court orders

 directing him to preserve and produce those same materials leaves an evidentiary gap justifying

 “appropriately tailored sanction[s],” Doug’s Word Clocks.com Pty Ltd. v. Princess Int’l, 323

 F.R.D. 167, 175 (S.D.N.Y. 2017), against him under Rule 37(b)(2)(A)(i). Cf. Ins. Corp. of Ir.,

 456 U.S. at 699, 707–78 (explaining that district court’s order deeming established the fact that

 defendants “had sufficient business contacts with Pennsylvania” to establish the court’s personal

 jurisdiction over them was both “just,” considering defendants made no effort to comply with

 “repeated orders” to supply the requested information about their contacts despite “repeatedly

 agree[ing] to comply . . . within specified time periods,” and “related” to the matter at issue in

 the discovery orders); GSI Tech., Inc. v. United Memories, Inc., No. 5:13cv1081, 2015 WL

 12942202, at *2 (N.D. Cal. Oct. 23, 2015) (“Because the 30(b)(6) witnesses were plainly

 unprepared to testify knowledgeably about the Hardee document in violation of the court’s order,

 discovery sanctions under Rule 37(b)(2)(A)(i) are warranted and the court orders the Hardee

 document deemed authenticated.”).



                                                  36
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 37 of 42 Pageid#:
                                  15631



        Second, Kline’s admission that he did not even try to preserve any relevant information—

 despite the fact his attorneys told him to do so—warrants an adverse-inference instruction under

 either Rule 37(e)(2) or the traditional “spoliation” standard. Spoliation is “the destruction or

 material alteration of evidence or . . . the failure to preserve property for another’s use as

 evidence in pending or reasonably foreseeable litigation.” Silvestri v. Gen. Motors Corp., 271

 F.3d 583, 590 (4th Cir. 2001). A party seeking spoliation sanctions must show that spoliation

 occurred and that the requested sanctions are warranted under governing law. Blue Sky Travel &

 Tours, LLC v. Al Tayyar, 606 F. App’x 689, 698 (4th Cir. 2015); Sampson, 251 F.R.D. at 181

 (citing Hodge, 360 F.3d at 450–51). Rule 37(e) provides the legal framework for evaluating

 spoliation claims involving discoverable ESI, including text messages or online communications,

 not preserved for litigation. See Jenkins v. Woody, No. 3:15cv355, 2017 WL 362475, at *12, *14

 (E.D. Va. Jan. 21, 2017). Under this Rule,

        a movant must satisfy four threshold requirements before a court decides if any
        spoliation sanction is appropriate: (1) ESI should have been preserved; (2) ESI was
        lost; (3) the loss was due to a party's failure to take reasonable steps to preserve the
        ESI; and (4) the ESI cannot be restored or replaced through additional discovery.

 Steves & Sons, Inc. v. JELD-WEN, Inc., 327 F.R.D. 96, 104 (E.D. Va. 2018). Rule 37(e)’s

 threshold elements mirror the traditional three-part test for spoliation, which requires the moving

 to party to show:

        (1) [T]he party having control over the evidence had an obligation to preserve it
        when it was destroyed or altered; (2) the destruction or loss was accompanied by a
        “culpable state of mind”; and (3) the evidence that was destroyed or altered was
        “relevant” to the claims or defenses of the party that sought the discovery of the
        spoliated evidence, to the extent that a reasonable factfinder could conclude that the
        lost evidence would have supported the claims or defenses of the party that sought
        it.

 Walker v. Owens, No. 7:13cv425, 2016 WL 320998, at *2 n.3 (W.D. Va. Jan. 26, 2016) (quoting

 Goodman v. Praxair Servs., Inc., 632 F. Supp. 2d 494, 509 (D. Md. 2009)); see Steves & Sons,


                                                   37
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 38 of 42 Pageid#:
                                  15632



 327 F.R.D. at 104 (“This analysis is similar to the Rule 37(e) framework, as it asks whether the

 responsible party had a duty to preserve, and breached that duty by failing to take reasonable

 steps to preserve.”). “[A]ny level of fault, whether it is bad faith, willfulness, gross negligence,

 or ordinary negligence”15 satisfies the culpability element, E.I. du Pont de Nemours & Co. v.

 Kolon Indus., Inc., 803 F. Supp. 2d 469, 497 (E.D. Va. 2011), whereas “the nuanced, fact-

 specific differences among these states of mind become significant in determining” any

 appropriate remedy or sanction for spoliation, Victor Stanley, 269 F.R.D. at 529. See Vodusek v.

 Bayliner Marine Corp., 71 F.3d 148, 156 (4th Cir. 1995).

         Plaintiffs ask the Court to instruct the jury that “Kline chose to intentionally withhold his

 documents, and that the jury may draw adverse inferences from that fact, including that Kline

 chose to withhold such documents because he was aware that such documents contained

 evidence that Kline conspired to plan racially-motivated violence at Unite the Right.” Pls.’ 3d

 Mot. for Sanctions 24. An adverse inference helps “level[] the evidentiary playing field” when an

 adversary’s “intentional conduct contributes to the loss or destruction of evidence” the movant

 could have used to support its case. Vodusek, 71 F.3d at 156. Rule 37(e) allows the court or a

 jury to “presume the [lost] information was unfavorable” to the responsible party “only upon

 finding that the party acted with the intent to deprive another of the information’s use in the



 15
   Negligence is a lack of due care, the failure to exercise the level of care expected of a reasonably
 prudent person acting under like circumstances.” In re Ethicon, Inc. Pelvic Repair Sys. Prod. Liability
 Litig., 299 F.R.D. 502, 519 (S.D. W. Va. 2014). “Gross negligence is the same as ordinary negligence,
 except in degree.” Id. “In contrast, willfulness and bad faith require ‘intentional, purposeful, or deliberate
 conduct,’” id. (quoting Victor Stanley, 269 F.R.D. at 530), undertaken with the knowledge that the
 evidence was relevant to some issue in the anticipated litigation, see Hodge, 360 F.3d at 450. “The
 fundamental element of bad faith spoliation is advantage-seeking behavior by the party with superior
 access to information necessary for the proper administration of justice.” In re Ethicon, 299 F.R.D. at 519
 (quoting Micron Tech., Inc. v. Rambus, Inc., 645 F.3d 1311, 1326 (Fed. Cir. 2011)). Willfulness requires
 a slightly lesser showing “that the actor intended to destroy the evidence,” Victor Stanley, 269 F.R.D. at
 530, when he or she “knew the evidence was relevant to some issue” in anticipated litigation, see Hodge,
 360 F.3d at 450.
                                                      38
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 39 of 42 Pageid#:
                                  15633



 litigation.” See Fed. R. Civ. P. 37(e)(2)(A)–(B). Fourth Circuit precedent similarly requires a

 finding that the responsible party “acted either willfully or in bad faith in failing to preserve

 relevant evidence” before the court may impose an adverse inference against that party.

 Sampson, 251 F.R.D. at 181 (citing Hodge, 360 F.3d at 450–51).

        Finally, Plaintiffs’ requested evidentiary sanctions are appropriate. Kline can still defend

 himself at trial if he wants to, and the Court can narrowly tailor its sanctions to minimize any

 “spillover” effect on Defendants who did not disobey discovery orders. See Peltz v. Moretti, 292

 F. App’x 475, 477–78 (6th Cir. 2008) (noting that the district court cannot deem facts established

 against defendant who did not disobey a discovery order). Further, more severe claim-dispositive

 sanctions such as default judgment, which Plaintiffs have not requested, would be unfair to

 Plaintiffs in these circumstances. Kline would be out of the case, and Plaintiffs still would not

 have information they believe necessary to prove their conspiracy claims against the remaining

 Defendants.

                                                  ***

        Accordingly, Plaintiffs’ third motion for sanctions against Defendant Elliott Kline (a.k.a.

 Eli Mosley), ECF No. 601, is hereby GRANTED in part and DENIED in part as follows:

            1. The following facts, listed in Appendix A to Plaintiffs’ Motion, will be taken as

                established against Defendant Kline for purposes of the action:

                    a. Defendant Kline was a member of Identity Evropa from April 2017 through

                        at least August 2017 (app. A § I ¶ 1);

                    b. Defendant Kline was one of the leaders of Identity Evropa from April

                        2017 through at least August 2017 (id. ¶ 2);




                                                   39
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 40 of 42 Pageid#:
                                  15634



               c. Defendant Kline entered into an agreement with one or more

                  coconspirators to plan the Unite the Right event that took place in

                  Charlottesville, Virginia on August 11 and 12, 2017 (id. ¶ 3);

               d. Defendant Kline entered into an agreement with one or more

                  coconspirators to engage in racially-motivated violence in Charlottesville,

                  Virginia on August 11, 2017 (id. ¶ 4);

               e. Defendant Kline entered into an agreement with one or more

                  coconspirators to engage in racially-motivated violence at the Unite the

                  Right event in Charlottesville, Virginia on August 12, 2017 (id. ¶ 5);

               f. Defendant Kline was motivated by animus against racial minorities,

                  Jewish people, and their supporters when conspiring to engage in acts of

                  intimidation and violence on August 11 and 12, 2017 in Charlottesville,

                  Virginia (id. ¶ 6);

               g. It was reasonably foreseeable to Defendant Kline and intended by him that

                  coconspirators would commit acts of racially-motivated violence and

                  intimidation at the torchlight event in Charlottesville, Virginia on August

                  11, 2017 (id. ¶ 7);

               h. It was reasonably foreseeable to Defendant Kline and intended by him that

                  coconspirators would commit acts of racially-motivated violence and

                  intimidation at the Unite the Right event in Charlottesville, Virginia on

                  August 12, 2017 (id. ¶ 8);

               i. Defendant Kline attended the torchlight march on August 11, 2017 (id.

                  ¶ 11, cl. 1);



                                           40
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 41 of 42 Pageid#:
                                  15635



                     j. Defendant Kline attended the Unite the Right event on August 12, 2017 (id.

                         ¶ 12, cl. 1); and

                     k. After the Unite the Right event in Charlottesville, Virginia on August 11

                         and 12, 2017, Defendant Kline ratified the racially-motivated violence at

                         the event (id. ¶ 13).

             2. The Court DENIES without prejudice Plaintiffs’ request for a court order taking

                 as established the proposed facts that:

                     a. It was reasonably foreseeable to Defendant Kline and intended by him that

                         a coconspirator would engage in racially-motivated violence by

                         intentionally driving a car into a crowd of counter-protestors on August

                         12, 2017 (id. ¶ 9);

                     b. Defendant Kline committed multiple overt acts in furtherance of the

                         conspiracy he entered into to commit racially-motivated violence at the

                         Unite the Right event in Charlottesville, Virginia on August 12, 2017 (id.

                         ¶ 10);

                     c. Defendant Kline committed acts of intimidation and violence in furtherance

                         of the conspiracy at the torchlight march on August 11, 2017 (id. ¶ 11, cl.

                         2); and

                     d. Defendant Kline committed acts of intimidation and violence in furtherance

                         of the conspiracy at the Unite the Right event on August 12, 2017 (id. ¶ 12,

                         cl. 2).

 The italicized language either is not supported by the record, see id. ¶ 9, or is too vague to justify

 the requested evidentiary sanction, see id. ¶ 10; id. 11, cl. 2; id. ¶ 12, cl. 2. Plaintiffs may



                                                    41
Case 3:17-cv-00072-NKM-JCH Document 910 Filed 11/30/20 Page 42 of 42 Pageid#:
                                  15636



 resubmit for the Court’s consideration proposed findings that Kline committed specific overt acts

 or acts of intimidation and violence in furtherance of the agreement to commit racially-motivated

 violence.

             3. All documents from the social media accounts listed in Appendix A to Plaintiffs’

                Motion (§ II ¶¶ 1–16) will be presumed “authentic,” subject to rebuttal by any

                Defendant, for purposes of Rule 901 of the Federal Rules of Evidence.

             4. Plaintiffs’ request for a permissive adverse-inference instruction against

                Defendant Elliott Kline (a.k.a. Eli Mosley) is GRANTED subject to the presiding

                District Judge’s final approval. Plaintiffs should submit their proposed language

                to the presiding District Judge in their proposed jury instructions.

        IT IS SO ORDERED.

                                                       ENTER: November 30, 2020



                                                       Joel C. Hoppe
                                                       U.S. Magistrate Judge




                                                 42
